   Case 3:21-cr-00872-MAS Document 14 Filed 11/19/21 Page 1 of 1 PageID: 20




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA,                       XXXXX
                                                  Mag No. __________________
                                                          3:21-cr-00872-MAS



  v.                                              ORDER

  _______________________,
  MATTHEW PRZEMIENIECKI

                  Defendant.


       Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, and as set forth on

the record during the initial appearance of the defendant on this ______
                                                                  19th   day of _____________,
                                                                                November

2020, in the presence of both the prosecutor and defense counsel in this matter, the Court

confirms the United States’ continuing obligation to produce all exculpatory evidence to the

defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to

do so. Failing to do so in a timely manner may result in consequences, including, but not limited

to, the Court’s order to produce information, the granting of a continuance, the exclusion of

evidence, adverse jury instructions, dismissal of charges, contempt proceedings, or sanctions by

the Court.


                                              Hon. TONIANNE J. BONGIOVANNI
                                              United States Magistrate Judge
